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                                   UNITED STATES BANKRUPTCY COURT
                                          District of New Hampshire
                                                1000 Elm Street
                                                   Suite 1001
                                         Manchester, NH 03101−1708

In Re: Nazar V. Lopushansky                                  Case No.: 11−12130−JMD
       Debtor
                                                             Chapter: 7

                                             ORDER CLOSING CASE




It appears from the records of the court that the estate of the above−named debtor(s) has been fully administered.

IT IS ORDERED THAT:

The Trustee is discharged as trustee of the estate of the above−named debtor(s) and the bond is cancelled.

The chapter 7 case of the above−named debtor(s) is closed.




Dated: 10/5/11

                                                             /s/ J. Michael Deasy
                                                             Bankruptcy Judge
